                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF ALASKA

                           United States v. Christopher James DeMure
                                 Case No. 3:18-cr-00064-TMB


By:                    THE HONORABLE TIMOTHY M. BURGESS


PROCEEDINGS:           ORDER FROM CHAMBERS

The matter comes before the Court on Defendant Christopher James DeMure’s Motion for
Reconsideration Under Local Criminal Rule 47.1(g) (the “Motion”). 1 Defendant moves for
reconsideration of the Court’s Order Regarding Restitution (the “Restitution Order”). 2 The
Restitution Order found that Defendant did not raise a timely objection to the $288,184.04 in
restitution to USAA ordered by the Court at the Sentencing Hearing on August 14, 2020. 3 For the
reasons discussed below, the Motion is GRANTED.

Defendant pleaded guilty to Mail Fraud, in violation of 18 U.S.C. § 1341, Wire Fraud, in violation
of 18 U.S.C. § 1343, and Money Laundering, in violation of 18 U.S.C. § 1957, as a result of
Defendant’s submission of false insurance claims to USAA and AMEX. 4 Defendant states that
reconsideration should be granted because Defendant based his non-objection to the Revised Final
Presentence Investigation Report (the “PSR”) and in his Sentencing Memorandum on the fact that
the parties both believed that Defendant had already paid restitution to USAA in full. 5 But when
the Government changed its position and asserted that Defendant had not paid restitution to USAA
in full, Defendant also objected to the Government’s new restitution calculation. 6 Indeed, the
Government changed its position on July 21, 2020, after the PSR and Defendant’s Sentencing
Memorandum had been filed. 7 Defendant then objected to the restitution calculation at the
Sentencing Hearing, stating “. . . it is our position that those amounts, which yield a figure of
$43,933, should not be included in restitution.” 8 The Court stated that it would consider the issue
and issued its Restitution Order later that day. 9




1
  Dkt. 170 (Motion).
2
  Dkt. 162 (Minute Order).
3
  Id.
4
  Dkt. 133 (PSR).
5
  Dkt. 170 at 3–4; see Dkt. 133.
6
  Dkt. 170 at 4.
7
  Dkt. 148 at 1–2 (Notice) (“[T]he Government’s prior understanding was that the defendant had
completely repaid restitution to USAA. Recently, however, the Government learned that the
defendant has only partially repaid restitution to USAA.”).
8
  Dkt. 169 at 4 (Transcript).
9
  See Dkts. 169 at 54, 162.
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Local Criminal Rule 47.1(g)(1) states that “[a] court will ordinarily deny a motion for
reconsideration absent a showing of one of the following: [A] manifest error of the law or fact; [B]
discovery of new material facts not previously available; or [C] intervening change in the law.”10
Given that the record on restitution in this case is less than clear, the Court GRANTS the Motion
at Docket 170 and FINDS that Defendant’s objection to the restitution amount at the Sentencing
Hearing was timely.

By this Order, the Court does not reach any determination on the merits of Defendant’s arguments
regarding the restitution calculation. At issue is whether the $43,933.72 for two claims submitted
to USAA by Defendant in 2014 and 2015 were properly included in the total $288,184.04
restitution amount. 11 Defendant shall file a brief on the merits by Tuesday, September 22, 2020.
The Government shall file a response by Tuesday, September 29, 2020. Defendant shall file a reply
by Friday, October 2, 2020. The parties shall also provide notice to the Court if an evidentiary
hearing is needed on this issue.

Entered at the direction of the Honorable Timothy M. Burgess, United States District Judge.

DATE: September 15, 2020.




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     D. Alaska L.Crim.R. 47.1(g)(1).
11
     See Dkt. 154-1 (Exhibit).
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